                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

GRISELDA McGEHEE; MARTHA                          )
GARCIA BARAJAS; KENIA AGUILAR;                    )
DILCIA AMAYA GOMEZ; and HILDA                     )
MARQUEZ VELASQUEZ,                                )     Civil Action No. 3:15-cv-0530
                                                  )
                   Plaintiffs,                    )
                                                  )     Judge Haynes
v.                                                )
                                                  )
WELLS FARGO BANK, N.A. and                        )     Magistrate Judge Holmes
DEBORAH MILLER,                                   )
                                                  )
                   Defendants.                    )
                                                  )

                                  STIPULATION OF DISMISSAL


         As evidenced by the signatures of counsel below and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), Plaintiff Griselda McGehee hereby agrees and stipulates that her claims against

Defendant Wells Fargo Bank, N.A. in this matter shall be DISMISSED WITH PREJUDICE.

The foregoing parties shall bear their own attorney's fees and discretionary costs.

RESPECTFULLY SUBMITTED:



s/ Karla Campbell w/p J. Longnecker                   s/ Joy Boyd Longnecker
Joe P. Leniski, Jr., Esq.                             John Hicks, Esq.
Karla M. Campbell, Esq.                               Joy Boyd Longnecker, Esq.
Bransetter, Stranch & Jennings, PLLC                  BAKER, DONELSON, BEARMAN,
The Freedom Center                                    CALDWELL & BERKOWITZ, P.C.
223 Rosa L. Parks Avenue, Suite 200                   211 Commerce Street, Suite 800
Nashville, TN 37203                                   Nashville, TN 37201
(615) 254-8801 (telephone)                            (615) 726-5600 (telephone)
(615) 255-5419 (facsimile)                            (615) 744-5608 (facsimile)

Attorneys for Plaintiff Griselda McGehee              Attorneys for Defendant Wells Fargo Bank,
                                                      N.A.
                                                 1
N JAB01 1624458 v1
2780973-002459 03/17/2016
     Case 3:15-cv-00530 Document 33 Filed 03/17/16 Page 1 of 2 PageID #: 110
                                CERTIFICATE OF SERVICE

       A copy of the foregoing was filed electronically on March 17, 2016 in accordance with
the Court’s Electronic Filing Guidelines. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing receipt:


         Joe P. Leniski, Jr., Esq.
         Karla M. Campbell, Esq.
         Bransetter, Stranch & Jennings, PLLC
         The Freedom Center
         223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203
         joeyl@bsjfirm.com
         karlac@bsjfirm.com



                                                    s/ Joy Boyd Longnecker
                                                    Joy Boyd Longnecker




                                                2
N JAB01 1624458 v1
2780973-002459 03/17/2016
     Case 3:15-cv-00530 Document 33 Filed 03/17/16 Page 2 of 2 PageID #: 111
